Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 1 of 18 Page ID
                                 #:3006


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 6   Attorneys for Defendants RIMAS MUSIC, LLC
     and BENITO ANTONIO MARTINEZ OCASIO
 7   P/K/A BAD BUNNY
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11 CLEVELAND CONSTANTINE                             CASE NO. 2:21-cv-02840-AB-AFM
   BROWNE., an individual, et al.
12                                                   Assigned To: Hon. Andre Birotte Jr.
            Plaintiffs,
13
       v.                                            DECLARATION OF KENNETH D.
14                                                   FREUNDLICH, ESQ. IN SUPPORT
   RODNEY SEBASTIAN CLARK                            OF BAD BUNNY AND RIMAS
15 DONALDS, an individual, et al.,                   MUSIC’S MOTION TO DISMISS
                                                     PLAINTIFFS’ SECOND
16               Defendants.                         CONSOLIDATED AMENDED
                                                     COMPLAINT PURSUANT TO FED.
17                                                   R. CIV. P. 12(b)(6)
18                                                   Hearing Date: September 22, 2023
                                                     Hearing Time: 10:00 a.m.
19
                                                     Courtroom: 7B
20
21                                                   Motion, [Proposed] Order, and
22                                                   Notice of Manual Lodging Filed
                                                     Concurrently Herewith
23
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                                                1                 Case No. 2:21-cv-02840-AB-AFM
     DECLARATION OF KENNETH D. FREUNDLICH, ESQ. IN SUPPORT OF BAD BUNNY AND RIMAS
     MUSIC’S MOTION TO DISMISS PLAINTIFFS’ SECOND CONSOLIDATED AMENDED COMPLAINT
                             PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 2 of 18 Page ID
                                 #:3007


 1                DECLARATION OF KENNETH D. FREUNDLICH
 2        I, Kenneth D. Freundlich, Esq. am the founding principal of Freundlich Law,
 3 counsel of record to Defendants RIMAS MUSIC, LLC (“Rimas”) and BENITO
 4 ANTONIO MARTINEZ OCASIO P/K/A BAD BUNNY (“Bad Bunny”). If called
 5 and sworn as a witness in this case, I could and would testify competently to all the
 6 facts contained herein.
 7        1.    Given the briefing schedule set forth in the Court’s Case Management
 8 Order (Doc. No. 143), it is my understanding that September 22, 2023 is the earliest
 9 open hearing date that works with all Defendants’ counsel’s schedules.
10        2.    On November 23, 2022, Bad Bunny and Rimas formally initiated the
11 L.R. 7-3 meet-and-confer process via letter from me to Plaintiffs’ counsel expressing
12 Bad Bunny and Rimas’ intent to bring the instant motion and specifying grounds for
13 such motion. On November 30, 2022 and again on June 5, 2023, counsel for the
14 parties telephonically/via Zoom met-and-conferred pursuant to L.R. 7-3.
15        3.    Attached as Exhibit A is a true and correct copy of the cover of and
16 pages 36-48 of Reggaeton by Wayne Marshall, et al. (Duke University Press, 2009).
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18 [CONTINUED ON NEXT PAGE]
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                                                2                 Case No. 2:21-cv-02840-AB-AFM
     DECLARATION OF KENNETH D. FREUNDLICH, ESQ. IN SUPPORT OF BAD BUNNY AND RIMAS
     MUSIC’S MOTION TO DISMISS PLAINTIFFS’ SECOND CONSOLIDATED AMENDED COMPLAINT
                             PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 3 of 18 Page ID
                                 #:3008


 1         4.    Bad Bunny and Rimas are concurrently filing herewith a Notice of
 2 Manual Lodging for a thumb drive to be lodged with the Court, containing what I
 3 understand to be true and correct audio files of Plaintiffs’ alleged songs, “Fish
 4 Market” and Dem Bow,” and those songs (except for “Tusa” and “Un Bellaqueo,”
 5 which could not be located by the time of filing of this Motion to Dismiss) through
 6 which Bad Bunny and/or Rimas are alleged to have infringed Plaintiffs’ copyrights.
 7 In addition to a thumb drive of these audio files being lodged with the Court,
 8 counsel for Bad Bunny and Rimas will also send a download link for these audio
 9 files to counsel for all represented parties.
10         I declare under penalty of perjury pursuant to the laws of the United States
11 that the foregoing is true and correct.
12         Executed on June 15, 2023 in New York, York.
13                                                   /s/ Kenneth D. Freundlich
                                                     Kenneth D. Freundlich
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                                                 3                 Case No. 2:21-cv-02840-AB-AFM
      DECLARATION OF KENNETH D. FREUNDLICH, ESQ. IN SUPPORT OF BAD BUNNY AND RIMAS
      MUSIC’S MOTION TO DISMISS PLAINTIFFS’ SECOND CONSOLIDATED AMENDED COMPLAINT
                              PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 4 of 18 Page ID
                                 #:3009




                          EXHIBIT A
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 5 of 18 Page ID
                                 #:3010
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 6 of 18 Page ID
                                 #:3011
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 7 of 18 Page ID
                                 #:3012
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 8 of 18 Page ID
                                 #:3013
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 9 of 18 Page ID
                                 #:3014
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 10 of 18 Page ID
                                  #:3015
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 11 of 18 Page ID
                                  #:3016
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 12 of 18 Page ID
                                  #:3017
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 13 of 18 Page ID
                                  #:3018
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 14 of 18 Page ID
                                  #:3019
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 15 of 18 Page ID
                                  #:3020
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 16 of 18 Page ID
                                  #:3021
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 17 of 18 Page ID
                                  #:3022
Case 2:21-cv-02840-AB-AFM Document 330-1 Filed 06/15/23 Page 18 of 18 Page ID
                                  #:3023
